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                                                  CO M PLAG T FOR A CW IL CA SE

         1.      ThePartiesto ThisComplaint
                 A.        ThePlaintiffts)
                           Providetheinformation below foreach plaintiffnamed in thecomplaint.Attach additionalpagesif
                           needed.
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                                    Name                                   'v        .- -                     a 't
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                 B.        TheDefendantts)
                           Providetheinformation below foreach defendantnam ed in the complaint,whetherthe defendantisan
                           individual,agovernm entagency,an organization,ora corporation.Foranindividualdefendant,
                           includetheperson'sjobortitle(tfknown).Attachadditionalpagesifneeded.

                                                                                                                                                 Page1of5
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ProSe1(Rev.12/16)ComplaintforaCivilCase

                 DefendantN o.1
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                          Job orTitle (kknown)                    ''         ,
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                          City and County            ,   o        '    uaa
                          StateandZipCode           ,'            - -                  O
                          TelephoneNumber           (                  %C .
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                          E-mailAddress(tfknown)


                 DefendantNo.2

                          Name                      j. .-                                                i
                          Job orTitleryknown)
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                 DefendantNo.3
                          Nmue
                          Job orTitle(kknown)
                          StreetAddress
                          City and County
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                          TelephoneN umber
                          E-m ailAddress(lfknown)


                 DefendantNo.4
                          Name
                          Job orTitle (fknown)
                          StreetAddress
                          City and County
                          State and Zip Code
                          TelephoneNum ber
                          E-mailAddress(kknown)


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     lI.     BasisforJurksdiction

             Federalcourtsarecourtsoflimitedjurisdiction (limitedpower).Generally,onlytwotypesofcasescanbe
             heard in federalcourt:casesinvolving a federalquestion and casesinvolving diversity ofcitizenship ofthe
             parties.Under28U.S.C.j1331,acasearisingundertheUnitedStatesConstimtion orfederallawsortreaties
             isafederalquestioncase.Under28U.S.C.j1332,acaseinwhichacitizen ofoneStatesuesacitizen of
             anotherStateornation andtheamountatstake ismorethan $75,000 isa diversity ofcitizenship cmse. In a
             diversity ofcitizenship case,no defendantmay bea citizen ofthe sam eState asany plaintiff. ''.
                                                                                                          r .




             Whatisthe lsforfederalcourtjurisdiction? (checkallthatapply)
                       Federalquestion                          Diversity ofcitizenship


             Fillouttheparar aphsin thissection thatapply tothiscase.

             A.       IftheBasisforJurisdiction IsaFederalQuestion
                      Listthespecitic federalstatutes,federaltreaties,and/orprovisionsoftheUnited StatesConstitution that
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                               ThePlaintiffts)
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                                        Stateof(name)      gy
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                               b.       Iftheplaintiffisacorporation
                                        Theplaintiftl (name)                                            ,isincorporated
                                        underthelawsofthe Stateof(name)                                                   ,
                                        and hasitsprincipalplace ofbusinessintheStateof(name)



                               (Ifmorethanoneplaintt isnamedinthecomplaint,attachanadditionalpageprovidingthe
                               sameinformationforeachadditionalplaint# )
                               TheDefendantts)
                                        Ifthedefendantisan individual
                                        Thedçfendant, (name)                 x                          ,isacitizen of
                                        the State of(name)                                             Orisacitizen of
                                        (forei
                                             gnnation)

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                                  Thedefendant,(name) t-Yjd                                  ,isincorporatedtindéf
                                  thelawsoftheStateof(name) h( (o
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                                                                 --k)                                 ,andhasits
                                  principalplaceofbusinessintheStatmof(name) $- G                    .              .
                                   Orisincorporatedunderthelawsof(foreignnation)
                                   andhasitsprincipalplace ofbusinessin (name)

                          (lfmorethanonedefendantisnamedinthecomplaint,attachan additionalpageproviding the
                          sameinformationforeachadditionaldefendant.
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                          The amountin controversy-theamountthe plaintiffclaimsthedefendantowesortheamountat
                          stake-ismorethan $75,000,notcounting interestand costsofcourt,because (explainll




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111.    Statem entofClaim

        W rite ashortand plain statementoftheclaim .Do notmakelegalarguments. State asbriefly aspossiblethe
        factsshowing thateach plaintiffisentitledtothedam agesorotherreliefsought. Statehow each defendantwas
        involved and whateach defendantdidthatcausedtheplaintiffharm orviolatedtheplaintiffsrights,including
        the datesand placesofthatinvolvementorconduct. Ifm orethan one claim isasserted,numbereach claim and
        write ashortandplain statementofeach claim in aseparateparagraph. Attach additionalpagesifneeded.




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        State briefly andprecisely whatdam agesorotherrelieftheplaintiffasksthe courtto order.Do notmake legal
        argum ents. Includeany basisforclaim ingthatthewrongsalleged arecontinuing atthepresenttim e. Include
        theamountsofany actualdamagesclaimed fortheactsalleged andtheb% isforthese mnounts. Includeany
        punitiveorexemplary da       sclaimed,thq amounts,andtheremsonsyou claim you are entitled to actualor
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V.      Certification and Closing

        UnderFederalRuleofCivilProcedure 11,by signing below,Icertify tothebestofmy knowledge?information,
        andbeliefthatthiscomplaint:(1)isnotbeingpresentedforanimproperpurpose,such mstoharass,cause
        unnecessary delay,orneedlesslyincreasethecostoflitigation;(2)issupportedbyexisting1aw orby a
        nonfrivolousargumentforextending,modifying,orreversingexistinglaw;(3)thefactualcontentionshave
        evidentiay supportor,ifspecitkallysoidentitied,willlikelyhaveevidentiarysupportafterare%onable
        opportunltyforfurtherinvestigationordiscovery;and(4)thecomplaintotherwisecomplieswiththe
        requirementsofRule 11.

        A.       ForPartiesW ithoutan Attorney

                 1agreeto provide the Clerk'sOfticewith any changesto my addresswherecase-related papersmay be
                 served. Iunderstand thatmy failureto keep a currentaddresson filewith the Clerk'sOftk e may result
                 inthe dismissalofmy case.

                 Dateofsigning:

                 Signature ofPlaintiff                    -               *
                 PrintedNameofPlaintiff C-uetz',
                                               j-L ..,
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        B.       ForAttorneys

                 Dateofsigning:


                 SignamreofAttorney
                 Printed Nam eofAttorney
                 BarNumber
                 N am eofLaw Firm
                 StreetAddress
                 Stateand Zip Code
                 TelephoneNumber
                 E-mailAddress




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